
654 S.E.2d 250 (2007)
D.A.N. JOINT VENTURE, III, L.P.
v.
Janice P. FENNER.
No. 145P07.
Supreme Court of North Carolina.
November 8, 2007.
Robert P. Trivette, Kitty Hawk, Allison A. Holmes, Raleigh, for Fenner.
Jonathan E. Huddleston, Windsor, for D.A.N. Joint Venture.
Prior report: 179 N.C.App. 533, 634 S.E.2d 586.


*251 ORDER

Upon consideration of the petition filed on the 23rd day of March 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
